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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 NORTHERN DIVISION

EARNEST RAY MACK                                                                       PLAINTIFF
ADC #129856

v.                               Case No. 3:19-cv-00382-KGB-JTR

WARD, Sergeant, NCU, et al.                                                       DEFENDANTS

                                               ORDER

        The Court has reviewed the Recommended Disposition submitted by United States

Magistrate Judge J. Thomas Ray (Dkt. No. 23). Plaintiff Earnest Ray Mack has not filed any

objections, and the time to file objections has passed. Accordingly, after careful consideration, the

Court concludes that the Recommended Disposition should be, and hereby is, approved and

adopted in its entirety as this Court’s findings in all respects (Id.).

        The Court dismisses without prejudice Mr. Mack’s complaint (Dkt. No. 1). The Court

certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an in forma pauperis appeal from this Order or

the accompanying Judgment would not be taken in good faith and denies as moot the pending

motion for transfer and motion for temporary restraining order (Dkt. No. 14) that were addressed

in Judge Ray’s partial recommended disposition (Dkt. No. 22). The Court also denies as moot

Judge Ray’s partial recommended disposition (Dkt. No. 22).

        It is so ordered this 28th day of September, 2020.




                                                        Kristine G. Baker
                                                        United States District Judge
